
By the Court.
— In such case the state of demand has not been required. It would however be convenient.
[*] It was then contended, that a state of demand had been delivered the referees instead of the justice; and that this was error.
By the Court.
— Merely delivering a state of demand, or an account to the referees in the presence of both parties, can dono injury; it maybe proper. It further appeared, that after the first rule of reference had been made, referring all matters in controversy in the suit below; that the parties had again met before the justice, and by consent had an additional rule of reference made, thereby referring all matters in controversy between the parties to the same referees. This proceeding was set up as erroneous.
By the Court.
— It is every day’s practice to enlarge by consent, rules of reference; there is nothing irregular or improper in it. Judgment affirmed.
